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AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:22-M -01524(1)
                                                            §
(1) Javier Alejandro Jalomo                                 §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about June 26, 2022 in Maverick county, in the WESTERN DISTRICT

OF TEXAS defendant(s) did, knowing or in reckless disregard of the fact that an alien has come to, entered,

or remains in the United States in violation of law, transports, or moves or attempts to transport or move

such alien within the United States by means of transportation or otherwise, in furtherance of such violation

of law



in violation of Title             8            United States Code, Section(s)     1324(a)(1)(A)(ii)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On June 26, 2022, defendant JALOMO, Javier Alejandro, a United States Citizen, was

arrested at the Immigration Checkpoint on HWY 57, near Eagle Pass, Texas, within the Western District of

Texas, for transportation of one illegal alien in furtherance into the United States. Agents determined the

driver JALOMO to be a United States citizen, but the passenger was a

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           Smith, Katrina M.
                                                                           Border Patrol Agent

06/30/2022                                                            at   DEL RIO, Texas
File Date                                                                  City and State



COLLIS WHITE                                                               ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
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CONTINUATION OF CRIMINAL COMPLAINT

                                WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                       vs.                             Case Number: DR:22-M -01524(1)

          (1) Javier Alejandro Jalomo

Continuation of Statement of Facts:

foreign national illegally present in the United States. Defendant refused to make a statement without an attorney
present. Illegal alien consented to a phone searched revealed communication between him and the defendant,
JALOMO."




______________________________
Signature of Judicial Officer                                   Signature of Complainant
